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                                   UNITED STATES DISTRICT COURT
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                                  CENTRAL DISTRICT OF CALIFORNIA
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 10    JOSEPH CHANDLER DAVALL,                          Case No. 2:18-CV-7252-DSF (LAL)

 11                                    Petitioner,      JUDGMENT
 12                          v.

 13    WARREN MONTGOMERY,

 14                                      Respondent.

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 17           Pursuant to the Order Accepting Final Report and Recommendation of United States
 18    Magistrate Judge,
 19            IT IS ADJUDGED that the First Amended Petition is denied and this action is dismissed
 20    with prejudice.
 21           IT IS SO ORDERED.
 22    DATED: November 30, 2021
 23                                                  Honorable Dale S. Fischer
                                                     UNITED STATES DISTRICT JUDGE
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